     Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 1 of 12




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

PAUL ZWIER,                                §
                                           §
     Plaintiff,                            §         Civil Action File No.
                                           §
v.                                         §      1:20-cv-03265-MHC-RDC
                                           §
EMORY UNIVERSITY and                       §
JAMES B. HUGHES, JR.,                      §     JURY TRIAL DEMANDED
                                           §
     Defendants.                           §

   STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY
  STORED INFORMATION AND [PROPOSED] ORDER (“ESI Protocol”)

      1.     PURPOSE AND SCOPE

      Absent special circumstances and as a supplement to any applicable rules and

orders, the specifications set forth below shall govern the production of all

documents, transcripts of prior testimony, exhibits, electronically stored information

(ESI), and any other materials and information (including, to avoid any ambiguity,

any copies, summaries, or derivations thereof) produced by the Parties during

discovery in the above-captioned action.

      2.     COOPERATION

      The Parties are aware of the importance the Court places on cooperation and

commit to cooperate in good faith throughout the matter. The Parties agree that any
    Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 2 of 12




discovery shall be proportional to the needs of the case and as such requests for

production of ESI and related responses will be reasonably targeted, clear, and as

specific as possible. The agreements set forth herein do not constitute a waiver of

any kind, by any party, of any valid objection to the production of particular ESI.

        3.   SEARCH

        The Parties may meet and confer in good faith regarding searching for

responsive documents. The Parties may implement reasonable and proportional

search processes to locate potentially responsive documents including search terms,

custodians, date filters, and/or technological solutions such as predictive coding.

The Parties may conduct further review and/or analysis on any document identified

through a search process to determine responsiveness and privilege. The parties may

meet and confer to discuss the burden, accessibility and discoverability of

productions from non-traditional data sources (e.g., mobile devices, social media,

chat applications, audio and video files, etc.). To the extent that any data from non-

traditional data sources will be produced, it will be done so in a reasonably useable

form.

        4.   PRODUCTION FORMATS

        a)   General Format Information. The Parties agree to produce documents

             in single-page, Group IV TIFF image file format with Concordance-



                                            2
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 3 of 12




       compatible image and data load files (i.e., .OPT and .DAT files) using

       standard Concordance delimiters. If particular documents warrant a

       different format, the Parties will cooperate to arrange for the mutually

       acceptable production of such documents.          Productions will be

       delivered via secure electronic file transfer system or shipped on

       encrypted physical media, such as CDs, DVDs or hard drives.

 b)    Metadata. The metadata fields set out in Appendix 1 will be produced

       in the .DAT data load file to the extent already in existence and

       reasonably accessible or available. The first line in each Concordance

       compatible .DAT file shall be the header containing the agreed-upon

       metadata field names, and each subsequent line shall contain the fielded

       data for each document.

 c)    Production Specifics.

       (i)   Each image should be named with its corresponding bates

             number. TIFF files must be produced in Group IV format with

             minimum resolution of 300 dpi. Bates numbers, confidentiality

             designations, and redactions shall be burned into the TIFF image

             files.




                                     3
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 4 of 12




       (ii)    Image and document break information in .OPT image load files

               must correspond to the beginning bates number in the .DAT

               metadata load file. Each TIFF file produced must be referenced

               in the production’s corresponding .OPT image load file.

       (iii)   Any document being produced in color shall be produced as

               color 300 dpi single-page JPEG files. No party is required to

               produce documents in color in the first instance. If the receiving

               party has good cause to make reasonable requests for production

               of certain documents in color, the receiving party may do so by

               providing: (1) a list of the Bates numbers of documents it

               requests to be produced in color format; and (2) an explanation

               of the need for production in color format. The producing party

               shall not unreasonably deny such requests but need not make

               such production until the Parties reach agreement regarding the

               additional costs associated with the production of documents in

               color.

       (iv)    Excel files, .CSV files, audio/visual files, and other documents

               that are unable to be converted to .tiff format in a reasonably

               useable manner shall be produced in native format (”Native


                                       4
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 5 of 12




              Files”). Each Native File shall be produced with a corresponding

              slip-sheet TIFF placeholder image file, which will contain

              burned in bates numbers, confidentiality designations and

              language indicating that the document is being produced as a

              Native File. Native Files shall be named with the beginning

              Bates number that is assigned to that specific record in the

              production. A “NativeLink” entry for each spreadsheet shall be

              included in the .DAT load file indicating the relative file path to

              each native file in the production volume. Native Files shall be

              produced with extracted text and applicable metadata fields as

              set forth in Appendix 1. For Native Files that contain redactions,

              the Parties may either apply the redactions directly on the native

              file itself or may produce TIFF image files with burned-in

              redactions in lieu of a Native File and TIFF placeholder image.

       (v)    Other than as specifically set forth in the paragraph above, a

              producing party need not produce documents in native format.

       (vi)   For each produced document, an extracted text file shall be

              provided along with its corresponding TIFF image file(s) and

              metadata. Each extracted text file shall be named according to


                                      5
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 6 of 12




             the beginning Bates number that is assigned to that specific

             record in the production, followed by .txt. File names shall not

             contain any special characters or embedded spaces. The text of

             native files shall be extracted directly from the native file.

             However, if a document has been redacted, Optical Character

             Recognition (“OCR”) of the redacted document will suffice in

             lieu of extracted text.

       (vii) Bates numbering must maintain consistent padding (e.g., with a

             consistent number of leading zeros) across the entire production

             and be sequential within a given document. The numbering

             convention shall be consistent throughout rolling productions.

             There shall be no spaces between the prefix and numeric value.

             No special characters shall be used other than underscores and

             dashes. If suffixes are used, they shall be in dot notation (e.g.,

             BATES000000001.001). Bates numbers shall be branded at the

             bottom of all TIFF images and shall not obscure any part of the

             underlying image.

       (viii) Parent-child relationships (the association between e-mails and

             attachments) will be preserved. Document families must be


                                       6
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 7 of 12




              produced consecutively with the family relationship noted in the

              appropriate metadata field(s).

       (ix)   Confidentiality designations, where appropriate, may be stamped

              onto images.

       (x)    Each party may normalize all ESI produced in this case to a

              single time zone (e.g., GMT, UTC, EST, etc.).

       (xi)   A Producing Party shall globally deduplicate (i.e. across

              custodians) using commercially acceptable e-Discovery software

              that utilizes either MD5 or SHA1 cryptographic hash values to

              de-duplicate ESI (at the document [i.e., parent] level). The

              identity of the primary custodian and other processed and agreed-

              upon custodians that possessed all de-duplicated items at the time

              of production shall be provided in the “Custodian” field of the

              single record that is produced.     Multiple custodians in the

              “Custodian” field shall be separated by a semicolon. Hard-copy

              documents shall not be eliminated as duplicates of responsive

              ESI. A producing party may also de-duplicate emails in such a

              way as to eliminate earlier or incomplete chains of emails and

              produce only the most complete iteration of an email chain


                                      7
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 8 of 12




             (“email thread suppression”). If a producing party elects to

             utilize such email thread suppression for its productions, it shall

             use commercially acceptable e-Discovery software to do so (e.g.,

             Relativity Analytics, Brainspace, etc.). Any party opting to

             deduplicate in a different manner from the foregoing procedures

             shall disclose its deduplication methodology to the receiving

             party. If the receiving party objects to the methodology, it shall

             timely raise those concerns with the producing party.

       (xii) The Parties shall make reasonable efforts to remove passwords

             or other security protection from potentially responsive ESI

             documents.

       (xiii) Common system and program files as defined by the NIST

             library (which is commonly used to exclude system and program

             files from document review and production) need not be

             processed, reviewed or produced.

       (xiv) To the extent responding to a discovery request requires

             production of ESI contained in a database, the producing party

             may comply with the discovery request by querying the database

             and generating a report (“Structured Data Report”) in a


                                     8
Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 9 of 12




             reasonably usable and exportable electronic format (for example,

             in Excel or .CSV format). To the extent available and reasonably

             accessible, the first line in the Structured Data Report will show

             the column headers for each field of data included in the

             Structured Data Report.

       (xv) ESI that is (i) used primarily for backup or disaster recovery

             purposes; or (ii) stored on any computers, servers, external hard

             drives, or other media created for disaster recovery purposes

             (collectively, “Backup ESI”), need not be preserved or produced.

       (xvi) All productions are subject to any Protective Order entered by

             the Court in this case. Pursuant to the applicable rules and any

             Protective Order, production of a privileged or work-product

             protected information is not a waiver in the pending case or in

             any other federal or state proceeding.

       (xvii) Nothing in this ESI Protocol shall be interpreted to require

             disclosure of irrelevant information or relevant information

             protected by the attorney-client privilege, work-product doctrine,

             or any other applicable privilege or immunity. The Parties do

             not waive any objections as to the production, discoverability,


                                     9
    Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 10 of 12




                   admissibility, or confidentiality of any information or

                   documents.

      5.     MODIFICATION

      This ESI Protocol may be modified by agreement of the affected Parties or by

the Court for good cause shown. Nothing in this ESI Protocol waives the right of

any Party to petition the Court for an Order modifying its terms upon good cause

shown, provided, however, that the affected Parties must first meet and confer and

use reasonable best efforts to negotiate an exception from or modification to this ESI

Protocol prior to seeking relief from the Court.




                                           10
  Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 11 of 12




                 Appendix 1: ESI Metadata and Coding Fields

Field Name            Description of Field
BegBates           Beginning document number
EndBates           Ending document number
BegAttach          Beginning document number of family unit
EndAttach          Ending document number of family unit
All Custodians     All production custodians (including the identity of other
                   custodians for deduplicated records). Multiple custodians
                   in the “Custodian” field shall be separated by a semicolon.
Attachment Count   Number of attachments
Author             Author field extracted from the metadata of the native file
From               Sender of the e-mail message
Recipient(s)       Recipient(s) of the e-mail message (To)
CC                 Recipient(s) of “carbon copies” of the e-mail message
BCC                Recipient(s) of “blind carbon copies” of the e-mail message
Email Subject      Email Subject
Sent Date/Time     Date and time the e-mail message was sent (produced in
                   “MM/DD/YYYY HH:MM AM or PM” format)
File Type          Email, Attachment, individual file
File Extension     File extension of document (.msg, .doc, .xls, etc.)
File Name          Name of original file
Title              Title of a non-email document
Hash Value         MD5 or SHA-1 Hash Value, unique document identifier
Nativelink         Relative file path to each native file in the production
                   volume
Textpath           The path to the corresponding OCR or extracted text file
                   included with a production volume.
Modified Date/Time For non-emails (produced in “MM/DD/YYYY HH:MM
                   AM or PM” format)
Confidentiality    Confidentiality designations in any Protective Order



                                        11
   Case 1:20-cv-03265-MHC-RDC Document 31 Filed 02/05/21 Page 12 of 12




      IT IS SO STIPULATED, through Counsel of Record.

                                           Respectfully submitted,

Dated: February 5, 2021.

s/ A. Lee Parks                            s/ Michael W. Johnston
A. Lee Parks, Jr.                          Michael W. Johnston
Georgia Bar No. 563750                     Georgia Bar No. 396720
lparks@pcwlawfirm.com                      mjohnston@kslaw.com
M. Travis Foust                            Rebecca Cole Moore
Georgia Bar No. 104996                     Georgia Bar No. 177309
tfoust@pcwlawfirm.com                      rmoore@kslaw.com
PARKS, CHESIN & WALBERT, PC                KING & SPALDING LLP
75 Fourteenth Street, 26th Floor           1180 Peachtree Street, NE
Atlanta, Georgia 30309                     Atlanta, Georgia 30309
Telephone: (404) 873-8000                  Telephone: (404) 572-4600
Facsimile: (404) 873-8050                  Facsimile: (404) 572-5100

Attorneys for Plaintiff                    Attorneys for Defendants
PAUL ZWIER                                 EMORY UNIVERSITY AND
                                           JAMES B. HUGHES, JR.


                           [PROPOSED] ORDER

IT IS ORDERED that the foregoing ESI Protocol is approved.


Dated:


                                   Hon. Regina D. Cannon
                                   United States Magistrate Judge




                                      12
